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                                    United States District Court
                                                                     for the
                                                  Southern District ofOhlo

             [n the Matter ofthe Search of
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         (Britflydttcribtthepnptnytobtleorthed                           )
         or laenllfi'lit person by now amttidibiui                       j            Case No. ^I^l-mj-oUo
1489 Seeran Placa. Columbus, Ohio. 43228 to Includo                      )
                aO outbuildings and curtilage

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER REUABLE ELECTRONIC MEANS

         I, a federal law enforcement ofRccr or an anomcy for the govemmcm.request a search warrant and state under
penal^ ofpeijury that 1 have reason to believe that on the following person or pTopeityfldensi^'ibeperronordesaibeilte
property to be settrdteBandgive Hs heoilont:
 See Attachment A

locatedinthe              Southern               Dlstrictof _                  0^9.                    .there Is now concealed
person ordescribe Ote property la be seisedf'.
 See Attachment B


          The basis for the search under Fed. R. Crim. P. 4i(c)is icheet one armorer.
               (
               fi evidence ofa crime;
               sf contraband, fruits ofcrime, or other items illegally possessed:
               flf property designed for use. Intended for use. or used in committing a crime;
                □ a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:

            Code Secllon                                                        Offense Description
        21 use 846                                Conspiracy to Possess with Intent to Distribute Controlled Substance
        21 use 846                                Attempt to Possess with Intent to Distribute Controlled Substance

          The an>lication is based on these facu:
        See Affidavit in Support of Anticipatory Search Warrant

          fi( Continued on the attached sheet.
          O Delayed notice of                    days ighe rw» endinn dote if more tbcm 30 Ja}e:                     ) Is requested under
               iS U.S,C. § 3i03a, the twis of which is set forth on the attached <Jwet,                              ^
                                                                                    ^7Z aI         Applkeml'i slpnonrt

                                                                                  Christopher L Ellison - PEA Taalt Force Officer
                                                                                                   Prtnud name aid title

Attested to by the appllcani In accordance with the requlrcmenu of Fed. R. Crim. P. 4.i by
                         TrtephOne                                (specie reltableeleetrenle means).


Date:      9/23/2021
                                                                       ChVlsey/M. Vasaun
City and state: Columbua. Ohio                                         United Sjates Magistrate Judge
                                                                                                   Primed name and title
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                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

         I, Christopher L. Ellison, being first duly sworn, hereby depose and state as follows:
                                                  I.


                       INTRODUCTION AND AGENT BACKGROUND


1.       1 am employed as a Sergeant for the Ohio State Highway Patrol, currently assigned full-
         time as a Task Force Officer(TFO) with the Drug Enforcement Administration (DEA),
         Columbus District Office. As such, 1 am an "investigative or law enforcement officer" of
         the United States within the meaning of Title 18 U.S.C.§ 2510(7), that is, an officer ofthe
         United States empowered by law to conduct criminal investigations and make arrests for
         offenses enumerated in Title 18 U.S.C.§ 2516. Your Affiant has been employed by the
         State of Ohio as a "Law Enforcement Officer," as defined in the Ohio Revised Code
         Section 2901.01, since 2004. Yoiu' Affiant is empowered to investigate, to make arrests
         with or without warrants and to execute search warrants under the authority of Title 21
         U.S.C.§ 878 and the Ohio Revised Code.

2.       Prior to being assigned to the DEA Task Force, your Affiant was the assistant commander
         ofan inter-agency collaborative between the Ohio State Highway Patrol, Cincinnati Police
         Department,and DEA - Cincinnati from 2017-2018, the assistant commander ofthe Ohio
         State Highway Patrol Wilmington District Criminal Patrol Unit from 2016-2017,assigned
         as a Task Force Officer with the West Central Ohio Crime Task Force in Lima, Ohio from
         2014-2016, and assigned as a road patrol trooper from 2004-2014.

3.       During the course of my law enforcement career, 1 have had experience in debriefing
         defendants and interviewing participating wimesses, cooperating individuals and other
         persons who have personal knowledge and experience regarding the trafficking of
         controlled substances and the amassing, spending, conversion, transportation, and
         concealment ofrecords and proceeds oftrafficking in controlled substances.

                                                 II.


                                   PURPOSE OF AFFIDAVIT

4.       This Affidavit is made in support of an Application under Rule 41 ofthe Federal Rules of
         Criminal Procedure for an Anticipatory Search Warrant for the following premises:

                The residential property located at 1489 Seeran Place,Columbus,Ohio,43228 to
                including all outbuildings and curtilage (hereinafter referred to as TARGET
                PREMISES). This TARGET PREMISES is more fully described in Attachment
                A incorporated herein by reference.
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5.       Based upon the information below, I have probable cause to believe that, if the triggering
        event for the anticipatory search warrant occurs,there will be located within the TARGET
        PREMISES, property that constitutes evidence of the commission of a criminal offense;
        contraband, the fruits of crime, and things otherwise criminally possessed; and property
        designed or intended for use or which is or has been used as a means of committing a
        criminal offense. Specifically, I have probable cause to believe that within the above-
        mentioned property there is evidence of violations of Title 21, U.S.C. § 846, Conspiracy
         to Possess with Intent to Distribute and Distribute a Controlled Substance(Marijuana)and
         Attempt to Possess with Intent to Distribute a Controlled Substance. Based on my training
         and experience, as described above, I believe that there is probable cause to believe that
         the items listed in Attachment B (incorporated herein by reference) will be found at the
         TARGET PREMISES described in Attachment A.

6.       The information contained in this Affidavit is largely based upon investigations conducted
         by your Affiant and other law enforcement officers. All ofthe details ofthe investigation
         are not included in this Affidavit, only information necessary to establish probable cause
         that evidence associated vnth the drug trafficking offenses referenced above is located at/in
         the TARGET PREMISES.

                                                 III.


                          FACTS SUPPORTING PROBABLE CAUSE

7.       On September 21, 2021, Trooper McCallister of the Missouri State Highway Patrol
         conducted a traffic stop on Interstate 44 that resulted in the arrest of an occupant of the
         vehicle, hereinafrer referred to as "CD." CD is a cooperating defendant that is facing
         potential drug trafficking charges arising from the aforementioned traffic stop.

8.      Trooper McCallister stopped the vehicle being driven by CD for a speeding violation.
        During the course of the traffic stop. Trooper McCallister asked CD for consent to search
        the vehicle. CD granted Trooper McCallister consent to search the vehicle. Trooper
        McCallister located four cardboard boxes in the rear hatch area of the vehicle. Trooper
        McCallister opened the boxes and found all four to contain a large amoimt of marijuana.
        The marijuana was processed as evidence and confirmed to be 102 gross pounds (46.30
        gross kilograms).

9.      Sergeant Musche of the Missouri State Highway Patrol conducted a post-Miranda
        interview of CD. CD stated he/she had picked up the marijuana from a location in
        Oklahoma City, OK,and was delivering it to ROBERT SPILLMAN at 1489 Seeran Place,
        Columbus, Ohio(TARGET PREMISES). CD stated he/she has previously made between
        10 and 15 deliveries of the same size to SPILLMAN at the same address in Columbus.

10.     On September 22, 2021, Sergeant Musche contacted your Affiant in regard to CD's arrest
        and cooperation. On the same date. Your Affiant and other members of law enforcement
        contacted CD and were provided additional information about the drug trafricking
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      organization in which CD was involved.        Your Affiant and other members of law
      enforcement were able to corroborate the information provided by CD.

11.   CD stated he/she intended to deliver the seized marijuana to SPILLMAN at his residence,
      (TARGET PREMISES)on September 23,2021. CD explained what typically happened
      after the delivery - SPILLMAN will provide approximately $130,000.00 to $160,000.00 in
      U.S Currency for the marijuana. CD stated he/she would then travel back and deliver the
      U.S. Currency to a location in Oklahoma City. CD provided an accurate description of
      TARGET PREMISES. CD stated the previously deliveries have all taken place at
      TARGET PREMISES and have occurred in the same fashion. CD stated he/she will
      arrive at the TARGET PREMISES and SPILLMAN will open the gate ofa large privacy
      fence for CD to drive into the property. CD stated he/she and SPILLMAN will then unload
      the marijuana and take it inside a pole building style detached garage. CD stated he/she
      has never gone to the TARGET PREMISES for any purpose other than to deliver
      narcotics. CD stated SPILLMAN lives at TARGET PREMISES with his wife. CD stated
      he/she personally knows SPILLMAN to be a marijuana and cocaine trafficker. CD stated
      SPILLMAN uses a different source ofsupply for cocaine than for marijuana.

12.   CD stated he/she communicates with SPILLMAN using the secured messaging application
      "Signal." CD stated the Signal account used by SPILLMAN is associated with phone
      number 614-290-0810. In September 2021, Your Affiant served an administrative
      subpoena to Sprint for records associated with phone number 614-290-0810. Sprint
      received the subpoena request and honored it by providing electronic records associated to
      the account. Your Affiant reviewed the records provided by Sprint and found phone
      munber 614-290-0810 to be subscribed to Penny Spillman with TARGET PREMISES
      listed as the subscriber address.

13.   Members of law enforcement conducted surveillance and observed a silver Lincoln leave
      TARGET PREMISES. A records check ofthe vehicle's registration, Ohio"PENSMKZ,"
      revealed the vehicle to be registered to Robert SPILLMAN, with Penny Spillman as an
      additional owner, and TARGET PREMISES listed as the home address.

14.   On the same date. Your Affiant conducted a criminal history check on SPILLMAN and
      learned he has prior state and federal convictions for drug trafficking and firearms
      violations.

15.   Through my training and experience I am aware that marijuana is a Schedule I controlled
      substance. As such, law enforcement will remove the marijuana from the packaging and
      will replace it with a pseudo substance ("sham") prior to attempting to conduct the
      controlled delivery.

16.   On September 23,2021, Your Affiant will arrange a controlled delivery to mimic the prior
      typical deliveries - where CD will communicate with SPILLMAN to coordinate the
      delivery of marijuana (sham) in exchange for U.S. Currency to take place at TARGET
      PREMISES. Upon CD driving inside the gate of the privacy fence at TARGET
      PREMISES to meet with SPILLMAN to conduct the exchange, or SPILLMAN receiving
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       the marijuana boxes from the vehicle driven by CD,or similar conduct by SPILLMAN that
       indicates the intent to accept possession of the marijuana box, the search warrant will be
       executed. The search warrant at the TARGET PREMISES will be executed if, and only
       if, the above conditions are met.


                                                      IV.


                     COMMON CHARACTERISTICS OF DRUG TRAFFICKERS

17.        Based on my training, education, and experience, as well as training, education and
       experience of other law enforcement officers, 1 know:

           a.    That drug traffickers often amass significant assets from their illegal drug
                 trafficking activities.

           b.    That drugs traffickers often maintain large amounts of U.S. currency derived from
                 illegal activities. It is common for individuals to secret contraband and conceal
                 proceeds ofdrug sales and records of drug transactions in secure locations such as
                 personal residences or businesses where they have ready access and control. Often,
                 these locations are used to conceal the existence of substantial wealth from law
                 enforcement authorities.

       c.        That drug traffickers also attempt to legitimize their profits by converting it into
                 other assets, such as stocks, bonds, precious metals,jewelry, real estate, vehicles
                 and other assets. To accomplish these goals, these individuals utilize false and
                 fictitious business records, nominee purchasers, foreign and domestic banks,
                 securities, cashier's checks, money drafts, letters of credit, brokerage houses, real
                 estate shell corporations and business fronts. These individuals conceal, in their
                 residences, businesses, safes, safe deposit boxes, storage units and vehicles,
                 currency, cashier's checks, money orders and other negotiable instruments, as well
                 as the records relating to the acquisition, conversion, movement, transfer, and
                 disbursement of these funds and assets.          Additionally, the drug traffickers
                 themselves usually control access to these areas. Further, it is not uncommon for
                 narcotics traffickers to "legitimize" their funds through casinos, documenting their
                 "winnings" in an attempt to show an additional source ofincome.

       d.        That drug smugglers are not unlike other members of society in that they rely on
                 credit and debit cards to make financial payments. Records relating to the use of
                 these cards can provide valuable information to the investigation by establishing,
                 among other things, the amoimt of money that is being spent by the suspects, their
                 travel patterns (e.g., using a credit card to pay for gasoline on a cross-country trip),
                 and may further identify businesses which are associated with the illegal activities
                 ofthe suspects.

      e.         That drug traffickers deal in currency and store currency in conveyances, homes
                 and at business sites. Furthermore, the Currency Transaction Report(CTR)(IRS
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          Form 4789)is required to be completed and filed with the Internal Revenue Service
          by all financial institutions on every currency transaction that exceeds $10,000.
          This requirement causes tremendous problems for drug traffickers when they
          attempt to negotiate their illegal profits at financial institutions because these
          reports can be made available to law enforcement officials. It is quite common for
          individuals who deal in illegal controlled substances to convert drug proceeds
          (currency)into cashier's checks and or money orders in amounts less than $10,000
          at numerous financial institutions over the course of several days in order to avoid
          the CTR filing requirement. Furthermore, drug traffickers often recruit other
          individuals to convert drug proceed currency for them in order to avoid handling
          the currency themselves.

          That drug traffickers use financial habits designed to minimize and hide a paper
          trail. Traffickers often purchase and/or title their assets in fictitious names,aliases,
          or in the names of relatives, friends, associates or business entities to avoid
          detection of these assets by government agencies, especially the Internal Revenue
          Service. Regardless ofdocumented ownership,the drug traffickers continue to use
          these assets and exercise control over them.


          That drug traffickers maintain books,records,receipts, notes,ledgers, bank records,
          accounting records and other papers relating to the importation, manufactiu^,
          transportation, ordering, sale and distribution of controlled substances. These
          ledgers often contain amounts ofdrugs; accounting ofpayments made and received,
          accounts receivable and accoimts payable used in furtherance of their drug
          trafficking activities. These individuals commonly "front" (provide illegal
          controlled substances on consignment) illegal controlled substances to their clients
          and thus keep some type ofrecord concerning moneys owed. Drug traffickers often
          maintain phone books,address books and other papers containing names,telephone
          numbers, and addresses ofsuppliers and purchasers of controlled substances. The
          names and numbers are often written in a code that requires drug traffickers to keep
          a key to their particular code.

          The aforementioned books,records,receipts, notes, ledgers, codes,etc., are usually
          maintained in a secure location where dealers in illegal controlled substances have
          ready access to them such as on their person, vehicle, business, safe deposit box,
          home safe, personal or business computer,storage facility or in other residences or
          businesses where they periodically reside or have access and control.

          It is not uncommon for individuals who deal in illegal controlled substances to take,
          or cause to be taken, photographs ofthemselves, their associates, their property
          and their illegal product. These individuals usually maintain these photographs in
          their possession or in residences where they reside or have access and control.

          That drug traffickers commonly use cellular telephones to coordinate various
          narcotics trafficking activities. Other traffickers, in order to avoid speaking on
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                  telephones, use numeric codes on electronic devices to communicate with
                  co-conspirators.

      k.          That drug trafllckers often engage in domestic and/or inlemational travel in relation
                  to the smuggling of illegal contraband. Analysis of travel records and documents
                  can assist In the development of the investigation by revealing potential source
                  and/or destination locations related to the distribution of illegal narcotics or the
                  payment of related FNt>ceeds.

      I.          Persons who traffic in controlled substances arc not unlike any other Individual in
                  our society in that they maintain documents and records. These documents and
                  records will normally be retained for long periods regardless of whether their value
                  to the individual has diminished. Offen times, this type of evidence is generated,
                  maintained and subsequently forgotten about. Mence, documents that one would
                  normally think a prudent person would destroy because of their incriminating
                  nature are still possessed months or even years afler they come into the possession
                  of a drug tra^cker. Often times these individuals do not even realize the
                  incriminating nature ofthe documents they keep.

                                                        V.


                                                CONCLUSION

18.        Based upon the details as outlined above, I believe, based on the facts set forth in the
           Affidavit, your Affiant believes there is probable cause to believe that Ifthe box containing
           marijuana(sham)is delivered and the above triggering condition Is met, that evidence of a
           crime;contraband,fruits ofcrime,or other items illegally possessed; and property designed
           for use, intended for use,or used in committing a crime and associated with the above listed
           drug trafficking offenses exists and can be found inside the TARGET PREMISES.
           WHEREFORE,based on the foregoing evidence ofdrug trafficking, I respectfully request
           that the Court issue a search warrant and scaling order for the premises describ^ in
           Attachment A and the property described in Attachment B. Investigators request that this
           warrant be SEALED.



                                                                Christopher L. Ellison
                                                                Task Force Officer
                                                                Drug Enforcement AdminlsUntion

Subscribed and sworn to before me
this 23 of September.2021
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                            ATTACHMENT OF CONDITIONS



Upon CD driving inside the gate ofthe privacy fence at TARGET PREMISES to meet with
SPILLMAN to conduct the exchange, or SPILLMAN receiving the marijuana boxes from the
vehicle driven by CD,or similar conduct by SPILLMAN that indicates the intent to accept
possession ofthe marijuana box, the search warrant will be executed. The search warrant at the
TARGET PREMISES will be executed if, and only if, the above conditions are met.
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                                      ATTACHMENT A


                   DESCRIPTION OF PROPERTY TO BE SEARCHED


TARGET PREMISES 1: 1489 Seeran Place, Columbus, Franklin County, Ohio including
all outbuildings and curtilage is described as a single family, single-stoiy home with attached
garage. The front of the structure if further described as having a gray fascia with brick on the
lower portion of the residence. The front door is described brown with an oval shaped window.
The numbers "1489" are clearly marked on the mailbox, located directly in front ofthe residence.
The property is enclosed by a wooden privacy fence. A pole building style detached garage is
located on the property, inside the wooden privacy fenced area.
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                                      ATTACHMENT B


                        DESCRIPTION OF ITEMS TO BE SEIZED

The evidence to be searched for and seized is:

       A.     Marijuana,cocaine, and any other controlled substances;

       B.     Documents and other items tending to show dominion and control over the
              premises/vehicle, including, but not limited to, bills or other business-related
              documents, correspondence, photographs;

       C.     Documents or other items tending to identify co-conspirators and sources,
              including, but not limited to, letters, notes, memoranda, photographs, address and
              phone books, maps, organizers, or lists ofnames;

       D.     Items commonly used to facilitate drug trafficking, including but not limits to
              items such as firearms,ammunition,cellular telephones,pay/owe sheets, packaging
              materials,"cut", scales, and grinders;

       E.     Likely proceeds of drug trafficking, such as United States Currency and other
              negotiable instruments; and

       F.     Documents and other items tending to establish or hide the whereabouts ofproceeds
              from drug trafficking, such as safes, keys to other locations, and financial records.
